Case 4:95-cr-50061-BAF ECF No. 1016 filed.11/04/19 PagelID.12076 Page 1of4

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

CRIM. CASE NO: 95-50061
Plaintiff,
HONORABLE BERNARD A. FRIEDMAN

V. SENIOR eo PES ARTS eee

DION ERIC SAVAGE, SR.,
NOV - 4 2019

/ CLERK'S OFFIC
DETROIT

SUPPLEMENTAL MOTION TO THE FIRST STEP ACT

WITH A PERTINENT AND SIGNIFICANT AUTHORITY

Defendant.

NOW COMES Dion Savage, proceeding Pro Se in the above captioned-
‘matter. Mr. Savage invokes the legal doctrine as prescribed under
Franklin v. Rose, 765 F.2d 82, 84-85 (6th Cir. 1985), in the
instant proceeding.
Mr. Savage respectfully supplements his 1SA motion with a
recent case from the Court of Appeals for the Fourth Circuit,

which undoubtedly proves that Section 2 and 3 of the 1SA of 2018

is applicable to 21 U.S.C. §§ 848(b)/841(b)(1)(B)(iii). See U.S.

|
UNITED STATES OF AMERICA,
v. Maupin, 2019 U.S. App. 9-10 n. 2 (4th Cir. Sept. 9, 2019):

Thus, the court must consider whether the statutory
penalties associated with the defendants violation of
a federal criminal statute would have been different
had Sections 2 and 3 of the Fair:Sentencing Act been
in.effect. A defendant therefore’ may be eligible
even of he was [sentenced] under a statute-other than
those directly amended by Sections 2 and 3 of the
Fair Sentencing Act.

For example, in the instant case Judge Gadola imposed a

sentence for a "covered offense" under § 848(b) which relies
 

 

Case 4:95-cr-50061-BAF ECF No. 1016 filed 11/04/19 PagelD.12077 Page 2 of 4

solely on § 841(b)(1)(B)(iii) during my October 21, 1997 sentencing
hearing, and the 1.5 kilograms that Judge Gadola, ant the jury in
violation of my Sixth Amendment Right as articualted in Alleyne,
133 S.Ct. 2155, 2161-61; Stone, 2019 WL 2475750, *2 (N.D.Ohio 2019);
U.S» v. Terrell, 2019 U.S. Dist, 5-6 n. 2 (E.D.Tenn. July 29, 2019),
attributed to Mr. Savage no longer triggers a MM life sentence
under § 848(b). In order to trigger a MM life sentence under §
848(b) in light of Section 2 (§ 841(b)(1){B)(iii) now requires
8.4 kilograms of crack cocaine. 300 times 28 grams of crack
equals 8400 grams), it requires 8.4. kilograms of crack cocaine.
The holding in Maupin, supra, clearly undermines the a
government's argument. See [docket entry 1012, at pg, 4,5, 9,19].
WHEREFORE, Mr. Savage respectfully requests the Court to
reduce my MM life sentence to.a term of 240-months ("time served")

for the offense for which the Grand Jury returned the indictment

and the offense (§ 848(a)) that the Petit Jury returned the guilty

verdict on. Your Honor, my son DeAndre A.L.P. Savage has been
selected to box in the Olympic Trials in December of 2019 as a Heavy
Weight for the 2020 Olympics and I would like to be there to .
support him in this grand accomplishment. I pray that the Court
find it within your heart to relase me before Thanksgiving so that

I may enjoy it with my family, a family that really needs me, namely
my wife, children, grandchildren and mother and father, who are

now 78 & 80 years old respectively.

 

1/ Section 404(b),.reads in pertinent part: A court that imposed a sentence

for a covered offense;may, on motion of the defendant,... impose a reduc
sentence as if section 2 and 3 of the Fair Sentencing Act of 2010 were in effect
at the time the: covered offense was committed. Id. Pierre, 2019 U.S. Dist. 9
(D.RI. 2019). ) a

 
 

Case 4:95-cr-50061-BAF ECF No. 1016 filed 11/04/19 PagelD.12078 Page 3 of 4

CERTIFICATE OF SERVICE

 

I hereby certify that a true and complete copy of the fore-
going Supplemental Motion has been placed in U.S. First Class Mail,

this day of October 29, 2019, with t postage prepaid to the

    

party below:

Benjamin C. Coats, AUSA fe !
211 W. Fort Street Dion Erie Savage, Sr. 19734-039

 

Suite 2001 FCI
Detroit, Mich 48226 P.O. Box 5000

Pekin, IL 61555

 
 

   

 

 

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